Case 8:12-cr-00205-SDM-SPF Document 68 Filed 04/22/14 Page 1 of 2 PageID 96




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

UNITED STATES OF AMERICA,

v.         CASE NO. 8:12-CR-205-T-17MAP

NATHANIEL HARRIS.

                                    /



                                         ORDER

      This cause is before the Court on:


       Dkt. 67   Motion for Interim Payments

       Court-appointed counsel for Defendant Nathaniel Harris has moved for an order
authorizing counsel to seek earned attorney’s fees to date. Counsel was appointed on
February 15, 2013, and this case is set for a date certain trial on 6/23/2014.


      The Court understands that counsel anticipates seeking excess compensation.
The Court must obtain written approval from the Chief Judge of this Circuit prior to
issuance of an order granting interim payments. Therefore, the Court directs counsel to
file a separate motion to waive the fee cap showing that this case is “extended,”
“complex,” or “extended and complex.” A case is “complex” if the legal and factual
issues are unusual, requiring the expenditure of more time, skill and effort by the lawyer
than would normally be required in an average case. A case is “extended” if more time
is reasonably required for total processing than the average case. See CJA 26, 26A.
The Court will submit both motions for approval. Accordingly, it is


      ORDERED that counsel for Defendant Nathaniel Harris shall file a separate
motion to waive fee cap for consideration with the request for interim payments, within
seven days.
 Case 8:12-cr-00205-SDM-SPF Document 68 Filed 04/22/14 Page 2 of 2 PageID 97




Case No. 8.12-CR-205-T-17MAP


      DONE and ORDERED in Chambers, in Tampa, Florida on this
          of April, 2014.




Copies to:
All parties and counsel of record




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